Case 2:17-cv-00495-WCB-RSP Document 8-2 Filed 06/30/17 Page 1 of 17 PageID #: 101




                     EXHIBIT B
Case 2:17-cv-00495-WCB-RSP Document 8-2 Filed 06/30/17 Page 2 of 17 PageID #: 102




               U.S. Patent No. 8,552,978

                           Huawei Nexus 6P




                              SUBJECT TO CHANGE                                     1
              Case 2:17-cv-00495-WCB-RSP    Document
                                     U.S. Patent         8-2 Filed
                                                 No. 8,552,978      06/30/17
                                                               – Huawei        Page 3 of 17 PageID #: 103
                                                                        Nexus 6P
Claim 10
A method for compensating rotations of a 3D pointing device, comprising:




                                                        Huawei Nexus 6P


                                                    SUBJECT TO CHANGE                                       2
               Case 2:17-cv-00495-WCB-RSP    Document
                                      U.S. Patent         8-2 Filed
                                                  No. 8,552,978      06/30/17
                                                                – Huawei        Page 4 of 17 PageID #: 104
                                                                         Nexus 6P
Claim 10
generating an orientation output associated with an orientation of the 3D pointing device associated with three coordinate axes of a
global reference frame associated with Earth;

When the orientation sensor is software-based, the orientation output is the attitude of the device that can be represented by the
azimuth, pitch, and roll angles relative to the magnetic North Pole associated with a global reference frame associated with Earth.




Source: https://source.android.com/devices/sensors/sensor-types#rotation_vector

                                                     SUBJECT TO CHANGE                                                             3
               Case 2:17-cv-00495-WCB-RSP    Document
                                      U.S. Patent         8-2 Filed
                                                  No. 8,552,978      06/30/17
                                                                – Huawei        Page 5 of 17 PageID #: 105
                                                                         Nexus 6P
Claim 10
generating a first signal set comprising axial accelerations associated with movements and rotations of the 3D pointing device in the
spatial reference frame;




Source: https://source.android.com/devices/sensors/sensor-types#accelerometer




Source: http://developer.android.com/guide/topics/sensors/sensors_overview.html#sensors-coords

                                                      SUBJECT TO CHANGE                                                             4
              Case 2:17-cv-00495-WCB-RSP    Document
                                     U.S. Patent         8-2 Filed
                                                 No. 8,552,978      06/30/17
                                                               – Huawei        Page 6 of 17 PageID #: 106
                                                                        Nexus 6P
Claim 10
generating a second signal set associated with Earth's magnetism;


The magnetometer (i.e., the compass) generates a second signal set associated with Earth’s magnetism.




Source: https://source.android.com/devices/sensors/sensor-types#magnetic_field_sensor




                                                    SUBJECT TO CHANGE                                       5
               Case 2:17-cv-00495-WCB-RSP    Document
                                      U.S. Patent         8-2 Filed
                                                  No. 8,552,978      06/30/17
                                                                – Huawei        Page 7 of 17 PageID #: 107
                                                                         Nexus 6P
Claim 10
generating the orientation output based on the first signal set, the second signal set and the rotation output or based on the first
signal set and the second signal set;

The Android source code shows generating the orientation output based on the first signal set, the second signal set and the
rotation output.
The handleGyro() function passes rotation output w to the predict() function and the update() function to calculate an
orientation output, x0.




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

                                                      SUBJECT TO CHANGE                                                                6
               Case 2:17-cv-00495-WCB-RSP    Document
                                      U.S. Patent         8-2 Filed
                                                  No. 8,552,978      06/30/17
                                                                – Huawei        Page 8 of 17 PageID #: 108
                                                                         Nexus 6P
Claim 10
generating the orientation output based on the first signal set, the second signal set and the rotation output or based on the first
signal set and the second signal set;

The handleAcc() function passes the accelerometer measurements (first signal set) a to the update() function, which updates the
orientation output x0.




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

                                                       SUBJECT TO CHANGE                                                               7
               Case 2:17-cv-00495-WCB-RSP    Document
                                      U.S. Patent         8-2 Filed
                                                  No. 8,552,978      06/30/17
                                                                – Huawei        Page 9 of 17 PageID #: 109
                                                                         Nexus 6P
Claim 10
generating the orientation output based on the first signal set, the second signal set and the rotation output or based on the first
signal set and the second signal set;

The handleMag() function passes the magnetometer measurements (second signal set) m to the same update(), which also updates
the orientation output x0.




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp

                                                       SUBJECT TO CHANGE                                                               8
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 10 of 17 PageID #: 110
                                                                        Nexus 6P
Claim 10
generating a rotation output associated with a rotation of the 3D pointing device associated with three coordinate axes of a spatial
reference frame associated with the 3D pointing device; and




Source: https://source.android.com/devices/sensors/sensor-types#gyroscope




Source: http://developer.android.com/guide/topics/sensors/sensors_overview.html#sensors-coords

                                                      SUBJECT TO CHANGE                                                                9
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 11 of 17 PageID #: 111
                                                                        Nexus 6P
Claim 10
using the orientation output and the rotation output to generate a transformed output associated with a fixed reference frame
associated with a display device [Court’s construction: using the orientation output and the rotation output to generate a transformed
output that corresponds to a two-dimensional movement in a plane that is parallel to the screen of a display device],
The fixed reference frame is defined by the horizontal and vertical axes of pixels on LG V20’s display device.




Source: http://developer.android.com/guide/topics/sensors/sensors_overview.html#sensors-coords

                                                      SUBJECT TO CHANGE                                                             10
                Case 2:17-cv-00495-WCB-RSP   Document
                                       U.S. Patent        8-2 Filed
                                                   No. 8,552,978     06/30/17
                                                                 – Huawei       Page 12 of 17 PageID #: 112
                                                                          Nexus 6P
Claim 10
using the orientation output and the rotation output to generate a transformed output associated with a fixed reference frame associated with a
display device [Court’s construction: using the orientation output and the rotation output to generate a transformed output that corresponds to a
two-dimensional movement in a plane that is parallel to the screen of a display device],
The remapCoordinateSystem() function transforms the orientation output (inR) to a transformed output (outR), associated with a
two dimensional movement in a plane that is parallel to the screen of a display device.




Source: https://android.googlesource.com/platform/frameworks/base/+/master/core/java/android/hardware/SensorManager.java




Source: http://developer.android.com/reference/android/hardware/SensorManager.html
                                                           SUBJECT TO CHANGE                                                                        11
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 13 of 17 PageID #: 113
                                                                        Nexus 6P
Claim 10
wherein the orientation output and the rotation output is generated by a nine-axis motion sensor module;


The HTC One M9 includes a 3-axis gyroscope, a 3-axis accelerometer, and a 3-axis magnetometer which form a nine-axis motion
sensor module.




Source: http://developer.android.com/guide/topics/sensors/sensors_overview.html#sensors-coords




                                                     SUBJECT TO CHANGE                                                        12
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 14 of 17 PageID #: 114
                                                                        Nexus 6P
Claim 10
obtaining one or more resultant deviation including a plurality of deviation angles using a plurality of measured magnetisms Mx,
My, Mz and a plurality of predicted magnetism Mx′, My′ and Mz′ for the second signal set.

The measured magnetisms Mx, My, Mz are values[0]-[2].




Source: http://developer.android.com/reference/android/hardware/SensorEvent.html#values

                                                    SUBJECT TO CHANGE                                                              13
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 15 of 17 PageID #: 115
                                                                        Nexus 6P
 Claim 10
obtaining one or more resultant deviation including a plurality of deviation angles using a plurality of measured magnetisms Mx,
My, Mz and a plurality of predicted magnetism Mx′, My′ and Mz′ for the second signal set.

The measured magnetisms, z, and a predicted magnetism, Bb, are used to calculate a global variable x0 in quaternion form.



                                        measured magnetisms




                                                                        predicted magnetism




Source: https://android.googlesource.com/platform/frameworks/native/+/master/services/sensorservice/Fusion.cpp



                                                    SUBJECT TO CHANGE                                                              14
              Case 2:17-cv-00495-WCB-RSP   Document
                                     U.S. Patent        8-2 Filed
                                                 No. 8,552,978     06/30/17
                                                               – Huawei       Page 16 of 17 PageID #: 116
                                                                        Nexus 6P
Claim 10
obtaining one or more resultant deviation including a plurality of deviation angles using a plurality of measured magnetisms Mx,
My, Mz and a plurality of predicted magnetism Mx′, My′ and Mz′ for the second signal set. .

The global variable x0 is in quaternion form, and can easily be converted to resultant angles.
According to Android’s developer library, the getOrientation() function “computes the device’s orientation based on the rotation
matrix,” and returns deviation angles including the Azimuth, Pitch, and Roll angles.




The getRotationMatrixFromVector() function “convert[s] a rotation vector to a rotation matrix,” and the
getQuaternionFromVector() function “convert[s] a rotation vector to a normalized quaternion.” Therefore, the quaternion, x0, can
be easily converted to its mathematically equivalent form, rotation matrix, and used by getOrientation() function to compute the
orientation in its angular form.
Source: https://android.googlesource.com/platform/frameworks/base/+/b267554/core/java/android/hardware/SensorManager.java

                                                    SUBJECT TO CHANGE                                                          15
                  Case 2:17-cv-00495-WCB-RSP   Document
                                         U.S. Patent        8-2 Filed
                                                     No. 8,552,978     06/30/17
                                                                   – Huawei       Page 17 of 17 PageID #: 117
                                                                            Nexus 6P
Claim 10
obtaining one or more resultant deviation including a plurality of deviation angles using a plurality of measured magnetisms Mx,
My, Mz and a plurality of predicted magnetism Mx′, My′ and Mz′ for the second signal set. .




     Source: https://source.android.com/devices/sensors/sensor-types#rotation_vector                     Source: https://developer.android.com/reference/android/hardware/
                                                                                                         SensorManager.html#getRotationMatrixFromVector(float[], float[])




                                  Source: https://developer.android.com/reference/android/hardware/SensorManager.html#getOrientation(float[],   float[])

                                                                          SUBJECT TO CHANGE                                                                                  16
